09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 1 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 2 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 3 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 4 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 5 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 6 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 7 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 8 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                     Pg 9 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 10 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 11 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 12 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 13 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 14 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 15 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 16 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 17 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 18 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 19 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 20 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 21 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 22 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 23 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 24 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 25 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 26 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 27 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 28 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 29 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 30 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 31 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 32 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 33 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 34 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 35 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 36 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 37 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 38 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 39 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 40 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 41 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 42 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 43 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 44 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 45 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 46 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 47 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 48 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 49 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 50 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 51 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 52 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 53 of 54
09-01198-mew   Doc 128   Filed 05/07/10 Entered 05/07/10 19:58:31   Main Document
                                    Pg 54 of 54
